FILED

Jeannette Martello

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Relator, In Pro Se

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORIA

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REQUEST FOR DISMISSAL WITHOUT PREJUDICE

UNITED STATES of AMERICA ex rel, 2:17-cv-01468-MCE-KJIN
Dr. Jeannette Martello .

Plaintiff,
Vv.

KAMALA HARRIS, LUCINDA EHNES,
MICHELLE ROUILLARD, ELAINE
PANIEWSKIL, GARY BALDWIN,
EDWARD HEIDIG, DREW BRERETON,
ANTHONY MANZANETTI, CAROL
VENTURA, KRISTIN DOOR, MARTA
GREEN, BRENT BARNHART,
CHRISTOPHER LEE, SONIA R.
FERNANDES, JAMES WILLIS, TERESA
RODRIGUEZ, DEBRA DENTON,
HOLLY PEARSON, MICHAEL
ROUZER, SANDRA PEREZ, RICK /
MARTIN, LYNNE RANDOLPH,
DENNIS BALMER, DEBBIE
MCKINNEY, MICHAEL
MCCLELLAND, KYLE MUNSON
ANDREW GEORGE, ROBERT MCKIM
BELL, MAUREEN MCKENNAN,
MICHAEL CLEARY, TIM LEBAS,
CHARLAINE HAMILTON, BARBARA
GARRETT, PETER LEE, DESI
MALONE, KATIE MARCELLUS, DAVE
JONES, TOBY DOUGLAS, DAVID
MAXWELL-JOLLY, JULI BAKER,
DAVID PANUSH, OSCAR HIDALGO,
JANETTE CASILLAS, PATRICIA
POWERS, DIANA S. DOOLEY,
KIMBERLY BELSHE, ALEX KEMPER-
MCCALL, PERRY KUPFERMAN, ALI
ZAKERSHAHRAK, MARSHA SEELEY,
KIM MORIMOTO, BRUCE HINZE,
PAUL FEARER, SUSAN KENNEDY,
ROBERT ROSS, GENOVEVA ISLAS,
MARTY MORGENSTERN, ART
TORRES, CALIFORNIA HEALTH
BENEFIT EXCHANGE, and DOES 1-100,
inclusive,

Defendants.

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REQUEST FOR DISMISSAL WITHOUT PREJUDICE

Qui Tam Plaintiff-Relator Dr. Jeannette Martello, Jn Pro Se, hereby
respectfully requests for a dismissal of this case without prejudice. The United States
has elected to decline intervention. (Docket 21). This document was filed on August
6, 2020.

Since the United States has elected to decline intervention, I respectfully

request that this case be dismissed without prejudice.

RESPECTFULLY SUBMITTED:

Dated: October 13, 2020 LY Wht VA Mlh ho

By:{ /Jeannette Martello
Relator, Jn Pro Se

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REQUEST FOR DISMISSAL WITHOUT PREJUDICE

CERTIFICATE OF SERVICE

I, the undersigned, certify and declare that I am over the age of 18 years, live
in the County of Los Angeles, State of California, and am not a party to the
above-entitled cause. On October 13, 2020, I served a true copy of a REQUEST
FOR DISMISSAL WITHOUT PREJUDICE by depositing it in the United States

Mail in a sealed envelope with the postage thereon fully prepaid to the following:

Steven Tennyson, Assistant U.S. Attorney
Eastern District of California
Robert Matsui U.S. Courthouse
501 I Street, Suite 10-100
Sacramento, CA 95814

Place of Mailing: Pasadena, California
Executed on October 13, 2020 at Pasadena, California

I hereby certify under the penalty of perjury that the foregoing is true and correct.

OLR LAN

“Monique Francis, declarant

CERTIFICATE OF SERVICE >

